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Pacific County Tea Party FILED ENTERED

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Raymond WA 98577

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DISTRICT OF WASHINGTON AT SEATTLE CLER
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U.S. cause no. GV 7 Uj Gy yry-efl

Pacific County Tea Party )

Vs ) FEDERAL RICO Canina
Governor Jay Inslee, Seattle Mayor Jenney Durkin, ) COMPLAINT WITH DEMAND FOR
Seattle City Council Members, Attorney General ) GRAND JURY CRIMINAL
Bob Ferguson, UW Law Professors Chaz Leaders ) INVESTIGATION
1-1000 , Jane and John Does et all ) 18 USC sec. 1964 Filing

)

Comes Now the undersigned Pacific County Tea Party members and files this Federal

 

RICO Racketeering and Organized Crimes Criminal complaint onto the following Individuals and
their Treasonous, Domestic Terrorist Supporters:

Make no mistake about it, this document places the following individuals on “NOTICE OF
THE CRIMINAL ACTIVITES THEY ARE ENGAUGED IN” and we are seeking immediate cease and
desist orders, forfeiture of all official bonds and removal from public office for all the public
officials involved.
TO: GOVERNOR JAY INSLEE
AND TO; ATTORNEY. GENERAL ROBERT FERGUSON
AND TO; SEATTLE MAYOR JENNY DURKIN
AND TO; SEATTLE CITY COUNCIL MEMBERS 1-9
AND TO: UNIVERSITY OF WASHINGTON LAW PROFESSORS
AND TO; CHAZ DOMESTIC TERRORIST LEADERS AND THEIR SUPPORTERS 1-1000

We the undersigned swear under penalty of perjury the forgoing individuals and their
co- conspirators have engaged in the following criminal activity, and we are requesting a Grand
Jury of our peers as described in 28 U.S.C. section 1861 Declaration of Policy to in investigate
and indict the foregoing for their involvement in the criminal activities identified below.
18 U.S. Code CHAPTER 115— Treason, Sedition, and Subversive Activities;
18 US Code chapter 113B Terrorism;

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18 U.S. Code chapter 11 Bribery, Graft and Conflicts of Interests;
18 U.S. Code chapter 13 Civil Rights, section 241, Conspiracy against rights, section 242
Deprivation of rights under color of law;,
18 U.S. Code chapter 19 Conspiracy to commit offense or to defraud United states;
18 U.S. Code chapter 95 Racketeering section 1951 Interference with commerce by threats or
violence, section 1602 Prohibited activities;
18 US Code section 3 Accessory After the fact;
18 US Code section 4 Misprision of Felony;
18 U.S. Code section 13 Laws of States adopted for areas within federal jurisdiction;
RCW Chapter 9.82 Treason;
RCW Chapter 9.81 Subversive Activities;
RCW 9.81.020 Subversive activities made felony—Penalty

(1) It is a class B felony for any person knowingly and willfully to:

(a) Commit, attempt to commit, or aid in the commission of any act intended to overthrow,
destroy or alter, or to assist in the overthrow, destruction or alteration of, the constitutional form
of the government of the United States, or of the state of Washington or any political subdivision
of either of them, by revolution, force or violence; or

(b) Advocate, abet, advise, or teach by any means any person to commit, attempt to commit,
or assist in the commission of any such act under such circumstances as to constitute a clear and
present danger to the security of the United States, or of the state of Washington or of any
political subdivision of either of them; or

(c) Conspire with one or more persons to commit any such act; or

(d) Assist in the formation or participate in the management or to contribute to the support of
any subversive organization or foreign subversive organization knowing the organization to bea
subversive organization or a foreign subversive organization; or
RCW 9A.28.040 Criminal conspiracy.

(1) A person is guilty of criminal conspiracy when, with intent that conduct constituting a
crime be performed, he or she agrees with one or more persons to engage in or cause the

performance of such conduct, and any one of them takes a substantial step in pursuance of such

agreement.

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(2) It shall not be a defense to criminal conspiracy that the person or persons with whom the
accused is alleged to have conspired:

(f) Is a law enforcement officer or other government agent who did not intend that a crime be
committed.

RCW 9A.82.060 Leading organized crime.

(1) A person commits the offense of leading organized crime by:

(b) Intentionally inciting or inducing others to engage in violence or intimidation with the
intent to further or promote the accomplishment of a pattern of criminal profiteering activity.
RCW 9A.08.010 General requirements of culpability.

RCW 9A.08.020 Liability for conduct of another—Complicity.
RCW 9A.68.050 Trading in special influence.

RCW 29A.84.630 Influencing voter to withhold vote.

RCW 29A.84.620 Hindering or bribing voter.

RCW 29A.84.720 Officers—Violations generally.

RCW 9A.82.100 Remedies and procedures.

RCW 9A.68.030 Receiving or granting unlawful compensation.
RCW 9A.56.120 Extortion in the first degree.

RCW 42.20.100 Failure of duty by public officer a misdemeanor.
RCW 42.52.020 Activities incompatible with public duties.

RCW 42.52.070 Special privileges.

RCW 9A.76.050 Rendering criminal assistance—Definition of term.
RCW 9A.76.100 Compounding.

We the undersigned claim the forgoing individuals are determined to overthrow our
constitutional form of government and force their communist form of government onto the
people, by replacing our Constitutional Law with Sharia law.

We stipulate that the following is true:

1. Socialism is just a conman’s sales pitch line for communism, and unless the public

officers engaged in forcing their so called socialism onto the people have denied to

accept public funds that exceed the minimum wage or poverty level, and have agreed to

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waive all special privileges and immunities they are actually engaged in forcing
communism onto the people in the name of socialism.

RCW 9.831.083 declares Communism a criminal organization.

Our constitutional form of government provides for equal opportunities and equal
protection of our laws for every sovereign individual , while Sharia Law honors
“Nobility” and is conducive to communism whereas it allows all “Nobel persons” (public
officers) the right to take advantage of the individuals that serve them: IE their
servants.

Criminal Allegations

Governor Jay Inslee:

1.

Inslee has violated the separation of powers by being a judicial officer holding office in
our executive branch, and while holding public office in both branches he has conspired
with others to force Sharia Law and communism onto the people of Washington State.
Inslee has traded and is trading in special influence and used public funds and public
office for his personal interests.

inslee has joined the criminal conspiracy of the domestic terrorists that are engaged in
domestic terrorism and treason and have attempted to succeed Capitol Hill from our
union much like what the south did just prior to the civil war, if he and his co-
conspirators are not dealt with in a civil law abiding manner and brought to justice we
fear civil war will break out and many innocent lives will be lost again.

inslee has a history of interfering with our free elections and our republican form of
government and violated RCW 29A.84.720 Officers violations- generally. U.S. District
Court cause No. C20-5396RBL

Through violating the separation of powers Inslee and his co-conspirators have
enhanced and protected their anti constitutional judicial fraud industry that sells
injustices to the highest bidders, which has enslaved all economically vulnerable
individuals and left the people with no equal opportunities and no equal justice.
Through violating the separation of powers Inslee has influenced the members of the

Washington State Bar Association, including but not limited to, our judges and justices

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to force Sharia Law and their judicial fraud industry onto the people of Washington
State.

Through violating the separation of powers Inslee and his co-conspirators have
enhanced their judicial fraud industry with the use of force, by joining the domestic
terrorist known as Chaz, and in acting in omission to their acts of treason used them to
continue to force his and their communist agenda onto the people.

Inslee’s acts of trading in special influence to enhance and protect his fellow judicial
officers judicial fraud industry, has placed our law enforcement officers at great
unnecessary risk, and caused mental and physical harm to them and others.

Since Inslee has continued to use the office of Governor of the State of Washington for
acts of treason and corruption he is a never Trumper, and opposes the Trump
administration attempts to drain the swamp of public corruption, as such he has joined
the criminal conspiracy of Chaz subversives activities, domestic terrorism and treason in
order to use his public office to interfere with our free elections and influence voters to

withhold votes for President Trump.

Attorney General Robert Ferguson

1. Ferguson is a supporter of Sharia law, the judicial fraud industry, and violating the

separation of powers to force Sharia law onto the people of Washington State in order
to protect and enhance his fellow Washington State Bar Association members’ judicial
fraud industry that sells injustices to the highest bidders, enslaves economically
vulnerable individuals, and nullifies equal opportunities and equal protections of law.
Ferguson has a history of interfering with our free elections and our republican form of
government and violated RCW 9A.84.720 Officers violations- generally. U.S. District
Court cause No. C20-5396RBL

Ferguson has a history of interfering with our free elections and engaging in election
crimes, in order to force his communist agenda onto the people of Washington State.
Ferguson has continually used the Washington State Attorney General's office to

influence his fellow members of the Washington State Bar Association, including but not

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limited to, our judges and justices to force Sharia Law and their judicial fraud industry
onto the people of Washington State.

By acting in omission to their acts of domestic terrorism and treason Ferguson has
joined the criminal conspiracy of domestic terrorist known as Chaz.

Ferguson’s acts of trading in special influence to enhance and protect his fellow judicial
officers, judicial fraud industry, has placed our law enforcement officers at great
unnecessary risk, and caused mental and physical harm to them.

Since Ferguson has continued to use the Washington State Attorney General's Office
for acts of treason and corruption he is a never Trumper, and opposes the Trump
Administration’s attempts to drain the swamp of public corruption, as such he willfully
joined the criminal conspiracy of Chaz subversive activities, domestic terrorism and
treason in order to interfere with our free elections and influence voters to withhold

votes for President Trump, and engage in.

Seattle Mayor Jenny Durkin

1.

Durkin is violating the separation of powers by being a judicial officer holding office in
Seattle’s executive branch, and while holding public office in both branches she has
conspired with others to force Sharia law and communism onto the people.

Prior to holding office as Seattle’s Mayor Durkin used her public position as U.S.
Attorney General for the state of Washington to engage in Sharia law and force Sharia
law onto the people of Washington State.

Durkin used her public position as U.S. Attorney General for the State of Washington to
influence her fellow members of the Washington State Bar Association, including but
not limited to, our judges and justices to force Sharia Law and their judicial fraud
industry onto the people of Washington state.

Durkin has traded and is trading in special influence and used public funds and public
office for her persona! interests.

Durkin has joined the criminal conspiracy of the domestic terrorists that are engaged in
domestic terrorism and treason and have attempted to succeed Capito! Hill from our

union much like what the south did just prior to the civil war, if she and her co-

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conspirators are not dealt with in a civil law abiding manner and brought to justice we
fear civil war will break out and many innocent lives will be lost again.

Durkin and her co-conspirators have enhanced and are protecting their judicial fraud
industry with the use of force, by joining the domestic terrorist known as Chaz, in acting
in omission to their acts of treason used them to continue to force their communist
agenda onto the people of our state and country.

Durkin’s acts of trading in special influence to enhance and protect her fellow judicial
officers, judicial fraud industry, has placed our law enforcement officers at great
unnecessary risk, and caused mental and physical harm to them and others.

Since Durkin has continued to use public offices for acts of treason and corruption she is
a never Trumper, and opposes the Trump administration attempts to drain the swamp
of public corruption, as such she has willfully publically admitted she has joined the
criminal conspiracy of Chaz subversives activities and is using her public office to
interfere with our free elections and influence voters to withhold votes for President

Trump, and engage in officers violations- generally, domestic terrorism and treason.

Seattle City Council members Lisa Harbold, Tammy J. Morales, Kshama Sawant, Alex Pedersen,
Debona Juarez, Dan Strauss, Andrew J. Lewis Teresa Mosqueda and Lorena Gonzales

1. Seattle City Council members have taxed businesses to death and are now desperate to

implement welfare programs in Seattle and force communism onto the people of
Seattle, this state and our country, and in an attempt to pacify individuals, their
desperation has led them to engage in organized crimes and assist others engaged in
organized crimes.

Seattle City Council members who are now desperate to force communism onto the
people are never Trumpers and are using their public offices to attack the Trump
Administration, and are Trading in special influence and influencing voters to not vote
for President Trump which includes the class “C” felony described in Officers violations-
generally.

By acting in omission to them, and for the other reasons identified herein Seattle City

Council members joined the criminal conspiracy as described in RCW 9A.28.040 of the

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Case 2:20-cv-00971-LK Document1 Filed 06/16/20 Page 8 of 14

domestic terrorists known as Chaz who are engaging in acts of treason and subversive
activities.
University of Washington Law Professors

1. UW Law Professors have instigated and supported the judicial fraud industry that denies
justice to all economically vulnerable individuals by attacking our morals, educating law
students in the arts of deception, deceit and Sharia Law, and in doing so have attacked
our constitutional form of government and justice that demands equal opportunities
and equal protections of law for all sovereign individuals.

2. UW Law Professors have engaged in subversive activities in an attempt to force
communism and Sharia Law onto the people of Washington State so they can protect
the economic interests of their judicial fraud industry, that sells injustices to the highest
bidders and enslaves all economically vulnerable individuals, as such they are instigators
and supporters of overthrowing our constitutional form of government.

Prayer For Relief

We the undersigned declare a state of emergency exists, whereas the taking of property
within the United States is a treasonous act that has historically resulted in civil war, therefore
this action should be expedited by the federal court to prevent possible bloodshed, and as such
we are requiring the defendants to respond in writing within 10 days of receiving their service.
Failure to make a written, lawful, adequate response will result in cease and desist orders,
forfeiture of all official bonds and immediate removal from office for the public officials
identified in this complaint.

As described in 18 U.S. Code chapter 115 and RCW chapter 82 Treason we the undersigned

also declare the public officials that have joined the CHAZ treasonous, domestic terrorist by
acting in omission, and other personal reasons should be the first ones to face the gallows

should anyone be killed in connection with the CHAZ actions.

Dated this 1G tay of June 2020 (] / Y i,

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Aaitel 4 ALAN ff Ass.
Political Supporter Dave Dunham, by and for the
Pacific County Tea Party, all rights and protections
reserved.

len 4, Af y by lL
Political Supporter Robert Powers, by and for the
Pacific County Tea Party, all rights and protections
reserved.

Certificate of Service
We the afore-signed swear we paid the King County Sherriff’s office to serve true and
correct copies of this criminal complaint onto the forgoing identified individuals.

U.S. Attorney General William Barr President Donald Trump Joint Chiefs of Staff
950 Pennsylvania Ave. NW 1600 Pennsylvania Ave. NW 9999 Joint Staff Pentagon
Washington D.C. 20530-0001 Washington D.C. 20500 Washington D.C. 20318-9999

Washington State FBI, Senator Lindsay Graham, Republican Party, Fox News

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Pacific County Tea Party JUN 16 2020
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IN
UNITED STATES DISTRIC COURT FOR THE WESTERN DEPUTY
DISTRICT OF WASHINGTON AT SEATTLE

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SUMMONS

Pacific County Tea Party )

Vs )
Governor Jay Inslee, Seattle Mayor Jenney Durkin, )
Seattle City Council Members, Attorney General _)
Bob Ferguson, UW Law Professors, Chaz Leaders)
1-1000, Jane and John Does et all )

)
TO: ROBERT FERGUSON, 1125 Washington St. SE Olympia WA 98504.

GREETINGS: You have been named a party to the above identified action as described in the
Plaintiff's Complaint, a copy of which is served upon you with this summons.

In order to defend against this lawsuit, you must respond to this Summons by stating
your defense in writing, and by serving a copy upon the person signing this summons within 10
Days after the service of this summons, excluding the day of service, ora default judgment may
be entered against you without notice. A default judgment is one where the defendant is
entitled to whatever he or she asks for in damages because you have failed to respond.

lf you wish to seek the advice of an attorney in this matter you should do so promptly,

so that your written response, if any may be served on time.

Dated this LhTthy of June 2020 (] J fi

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Pacific County Tea Party, all rights and protections
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UNITED STATES DISTRIC COURT FOR THE WESTERN
DISTRICT OF WASHINGTON AT SEATTLE

Pacific County Tea Party U.S. cause nol , \j ©} aA

Vs

Governor Jay Inslee, Seattle Mayor Jenney Durkin, SUMMONS

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Seattle City Council Members, Attorney General _)
Bob Ferguson, UW Law Professors, Chaz Leaders _)
1-1000, Jane and John Does et all )

)
TO: MAYOR JENNY DURKIN, 600 4™ Avenue 3" Floor, Seattle WA 98124-4728.

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Plaintiff's Complaint, a copy of which is served upon you with this summons.

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Dated this / 4 X4 of June 2020 (] Yip
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Pacific County Tea Party JUN 16 2020

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UNITED STATES DISTRIC COURT FOR THE WESTERN

DISTRICT OF WASHINGTON AT SEATTLE

 

U.S. cause no.

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Governor Jay Inslee, Seattle Mayor Jenney Durkin, ) SUMMONS
Seattle City Council Members, Attorney General _)
Bob Ferguson, UW Law Professors, Chaz Leaders)
1-1000, Jane and John Does et all )

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TO: GOVERNOR JAY INSLEE, P.O. Box 4002 Olympia WA 98504-0002 ( State Capitol

Campus).
GREETINGS: You have been named a party to the above identified action as described in the
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Dated this (ey of June 2020

 

 

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UNITED STATES DISTRIC COURT FOR THE WESTERN
DISTRICT OF WASHINGTON AT SEATTLE

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SUMMONS

Pacific County Tea Party )

Vs )
Governor Jay Inslee, Seattle Mayor Jenney Durkin, )
Seattle City Council Members, Attorney General _)
Bob Ferguson, UW Law Professors, Chaz Leaders)
1-1000, Jane and John Does et all )

)
TO: SEATTLE CITY COUNCIL MEMBERS 1-9, KSHAMA SAWANT, LISA HABOLD, TAMMY J.

 

MORVLES, ALEX PEDERSEN, DEBONA JUAREZ, DAN STANUSS ANDREW J. LEWIS TERESA
MOSQUEDA, AND LORENA GONZALEZ, 600 4™ Avenue 3" Floor, Seattle WA 98124-4728.
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Dated this Lb'y of June 2020 |/ Vi
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UNITED STATES DISTRICT COURT

 

 

 

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700 STEWART ST., SUITE 2310 Ob
SEATTLE, WASHINGTON 98101 JUN 16 2020

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